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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


PAUL CLEMENTS, et al.,

          Plaintiffs,                      Case No. 1:18−cv−00655−RJJ−PJG

   v.                                      Hon. Robert J. Jonker

RUTH JOHNSON, et al.,

          Defendants.
                                       /

                  NOTICE REGARDING ASSIGNMENT OF CASE
                        AND NOTICE OF DEFICIENCY
         NOTICE is hereby given that the above−captioned case was
electronically filed in this court on June 11, 2018 . The case has been
assigned to Robert J. Jonker .
        The filing party has failed to submit the filing fee as required by 28
U.S.C. § 1914(a) and W.D.Mich.LCivR 5.7(c). The filing fee must be paid
electronically, by credit card, or a motion for leave to proceed in forma
pauperis must be filed, at the time the initial pleading is electronically
submitted. The 400.00 filing fee or the IFP motion is due immediately.
Failure to comply may result in dismissal of the action. To pay by credit card,
log in to CM/ECF. Click Civil on the blue menu bar, and under the Fees, Make
a Payment section, select the Filing Fee (Civil Case) − Credit Card Payment
event. For further information, see the reference materials available on the
court website.



                                       CLERK OF COURT

Dated: June 12, 2018             By:    /s/ N. Stimec
                                       Deputy Clerk
